Case 2:18-cr-00375-AB Document 276 Filed 11/04/21 Page 1 of 6 Page ID #:879
                Case 2:18-cr-00375-AB Document 276 Filed 11/04/21 Page 2 of 6 Page ID #:880

 USA vs.      Andrei Sotnikov                                    Docket No.:   CR 18-375-AB-5

              The defendant is not required to report to the Probation & Pretrial Services Office while residing
              outside of the United States; however, within 72 hours of release from any custody or any reentry to
              the United States during the period of Court-ordered supervision, the defendant shall report for
              instructions to the United States Probation Office located at: the 300 N. Los Angeles Street, Suite
              1300, Los Angeles, CA 90012-3323.

         7. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
            judgments and any other financial gains to the Court-ordered financial obligation.

         8. The defendant shall submit the defendant’s person, property, house, residence, vehicle, papers,
            computers, cell phones, other electronic communications or data storage devices or media, email
            accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s control,
            to a search conducted by a United States Probation Officer or law enforcement officer. Failure to
            submit to a search may be grounds for revocation. The defendant shall warn any other occupants that
            the premises may be subject to searches pursuant to this condition. Any search pursuant to this
            condition will be conducted at a reasonable time and in a reasonable manner upon reasonable
            suspicion that the defendant has violated a condition of his supervision and that the areas to be
            searched contain evidence of this violation.

It is ordered that the defendant shall pay to the United States a special assessment of $ 100, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $768,342 pursuant to 18 U.S.C. § 3663A.

The amount of restitution ordered shall be paid as follows:

Victim                                                              Amount
Centers for Medicare & Medicaid Service (CMS)                       $768,342
Attn: Veronica Moore
Division of Accounting Operations
P.O. Box 7520
Baltimore, MD 21207-0520

The defendant should make restitution payments to “Clerk, U.S. District Court” and mailed or otherwise delivered to:
United States District Court
Attn: Fical Department
255 E. Temple St. Room 1178
Los Angeles, CA 90012


A partial payment of $1,000 shall be paid immediately. Restitution shall be due during the period of imprisonment, at the
rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If
any amount of the restitution remains unpaid after release from custody, nominal monthly payments of at least 10% of
defendant's gross monthly income but not less than $100, whichever is greater, shall be made during the period of
supervised release and shall begin 90 days after the commencement of supervision. Nominal restitution payments are



CR-104 (docx 12/20)                    JUDGMENT & PROBATION/COMMITMENT ORDER                                     Page 2 of 6
                Case 2:18-cr-00375-AB Document 276 Filed 11/04/21 Page 3 of 6 Page ID #:881

 USA vs.      Andrei Sotnikov                                       Docket No.:   CR 18-375-AB-5

ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or future
payment of the amount ordered.

The defendant shall be held jointly and severally liable with co-participant, defendant Irina Sadovsky (Docket No. 18-
cr-00375-AB), for the amount of restitution ordered in this judgment. The victim’s recovery is limited to the amount of
their loss and the defendant's liability for restitution ceases if and when the victims receive full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons at or before
12 noon, on February 11, 2022. In the absence of such designation, the defendant shall report on or before the same date
and time, to the United States Marshal located at the First Street U.S. Courthouse, 350 W. First Street, Suite 3001, Los
Angeles, CA 90012.

Defendant informed of his right to appeal.

Bond is exonerated upon surrender.




CR-104 (docx 12/20)                      JUDGMENT & PROBATION/COMMITMENT ORDER                                        Page 3 of 6
Case 2:18-cr-00375-AB Document 276 Filed 11/04/21 Page 4 of 6 Page ID #:882
                Case 2:18-cr-00375-AB Document 276 Filed 11/04/21 Page 5 of 6 Page ID #:883

 USA vs.      Andrei Sotnikov                                                    Docket No.:     CR 18-375-AB-5



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


CR-104 (docx 12/20)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 6
                Case 2:18-cr-00375-AB Document 276 Filed 11/04/21 Page 6 of 6 Page ID #:884

 USA vs.      Andrei Sotnikov                                                   Docket No.:       CR 18-375-AB-5




                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 6 of 6
